                          1:22-cv-01075-JES-JEH # 16      Page 1 of 2




                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

GAGE MOORE,                                   )
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )          Case No. 3:21-CV-01583-JPG
                                              )
ADVANCED TECHNOLOGY                           )          Honorable J. Phil Gilbert
SERVICES, INC.,                               )
                                              )
                      Defendant.              )

                    DEFENDANT’S PARTIAL MOTION TO DISMISS

       Defendant Advanced Technology Services, Inc., by and through its attorneys, Davis &

Campbell L.L.C., respectfully moves to dismiss Counts I, II, III, VIII, IX, XI, and XII of

Plaintiff’s Complaint for failure to state a claim pursuant to Federal Rule of Civil Procedure

12(b)(6). Defendant contemporaneously files and incorporates herein its Memorandum in

Support of this Motion.


February 4, 2022                                         ADVANCED TECHNOLOGY
                                                         SERVICES, INC.



                                                         By:        s/Julie A. Noel
                                                                 One of Its Attorneys

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                                              1
                         1:22-cv-01075-JES-JEH # 16         Page 2 of 2




                          UNITED STATES DISTRICT COURT
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GAGE MOORE,                                        )
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                       Plaintiff,                  )
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       v.                                          )        Case No. 3:21-CV-01583-JPG
                                                   )
ADVANCED TECHNOLOGY                                )
SERVICES, INC.,                                    )        Honorable J. Phil Gilbert
                                                   )
                       Defendant.                  )

                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of February 2022, I electronically filed the foregoing

Defendant’s Partial Motion to Dismiss with the Clerk of Court using the CM/EFS system, which

will send notification of such filing to the following:

               Ryan M. Furniss
               Attorney for Plaintiff
               7750 Clayton Road, Suite 102
               Saint Louis, MO 63117
               rfurniss@furnisslaw.com




                                                                     s/Julie A. Noel




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